                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                               UNITED STATES DISTRICT COURT                                April 01, 2025
                                SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                  BROWNSVILLE DIVISION

DANIEL ENRIQUE ZACARIAS MATOS,                    §
                                                  §
        Petitioner,                               §
                                                  §
VS.                                               §   CIVIL ACTION NO. 1:25-CV-057
                                                  §
FRANCISCO VENEGAS, et al.,                        §
                                                  §
        Respondents.                              §

                                             ORDER

       The Court has reviewed the parties’ Joint Status Report (Doc. 24). In light of the parties’

submission, the record in this case, and the ongoing litigation in J.G.G., et al. v. Donald J. Trump,

In His Capacity as President of the United States, et. al., No. 1:25-cv-766 (D.D.C. 2025), the Court

finds that an extension of the briefing schedule is warranted. Accordingly, it is:

       ORDERED that the parties shall file a joint proposed briefing and hearing schedule by

no later than April 3, 2025.

       A telephonic status conference remains scheduled for 10:00 a.m. on April 7, 2025.

       The Temporary Restraining Order (Doc. 18) remains in full effect.

       Signed on April 1, 2025.


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                                                      Fernando Rodriguez, Jr.
                                                      United States District Judge




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